Case 1:07-cv-11629-DC Document11 _ Filed 02/14/08 Page 1 of 2

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UNITED STATES DISTRICT COURT. =I
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SOUTHERN DISTRICT OF NE 1°RRDC SDNY
) DOCUMENT
AMERICAN TOWER CORPORATION, ) ELECTRONICALLY FILED
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Plaintiff, ) yee ATC Toy fi
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v. ) =
) Civil Action No.: 1:07-cv-11629-DC
SIDE J, ZEITLIN, )
THE KEFFI GROUP LTD. and )
INDEPENDENT MOBILE )
INFRASTRUCTURE LTD., )
)
Defendants, )
__)
NOTICE OF DISMISSAL

~ Pursuant to Rule 41(a)(1)(AX(i) of the Federal Rules of Civil Procedure, Plaintiff

American Tower Corporation hereby voluntarily dismisses this action with prejudice.

Respectfully Submitted,

Nt Sy Unt

Nicholas J. Rosenlsdrg (NR-4326) <

Alan D. Rose, Jr., (admission pro hac vice pending)
Rose, Chinitz & Rose

29 Commonwealth Avenue, 6" Floor

Boston, Massachusetts 02116

Tel: (617) 536-0040

Fax; (617) 536-4400

February 8, 2008

Case 1:07-cv-11629-DC Document11 _ Filed 02/14/08 Page 2 of 2

CERTIFICATE OF SERVICE

Thereby certify that this document filed through ihe ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non registered participants on February 8,

2008. MeO. . Lieb

Nicholas J. Rosehperg (NR-4326) /

